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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                4:13CR3115
      vs.
                                                   MEMORANDUM AND ORDER
CHARLES J. BAASCH,
                   Defendant.



      Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
99). The parties need additional time to engage in plea discussions and confer with
client. The motion to continue is unopposed and the court finds the motion should be
granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 99), is granted.

      2)    The defendant's plea hearing will be held before the undersigned magistrate
            judge on March 19, 2014 at 10:00 a.m.. The defendant is ordered to appear
            at this hearing.

      3)    For the reasons stated by counsel in the motion, the Court finds that the
            ends of justice served by continuing defendant's plea hearing outweigh the
            best interest of the defendant and the public in a speedy trial. Accordingly,
            the time between today's date and the district court judge's acceptance or
            rejection of the anticipated plea of guilty shall be excluded for speedy trial
            calculation purposes. 18 U.S.C. § 3161(h)(7).


      February 24, 2014.


                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
